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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

 HOWARD COHAN,

        Plaintiff,

 vs.                                         CASE NO.: 9:20-cv-81436-WPD


 EM SQUARED RESTAURANTS, LLC
 a Foreign Limited Liability Company
 d/b/a KFC

       Defendant(s).
 ____________________________________/
             NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, HOWARD COHAN and his

 undersigned counsel hereby give notice that the above captioned action is voluntarily dismissed,

 with prejudice against Defendant, EM SQUARED RESTAURANTS, LLC, a Foreign Limited

 Liability Company, d/b/a KFC.

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 23, 2020, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on counsel, Samuel Cantor, via email at SAM@samcanpa.com

                                                    By: /s/ Gregory S. Sconzo
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